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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                              MARTINSBURG DIVISION

  MICHAEL JAY BRACKETT,

         Petitioner-Defendant,
                                                        Civil Action No. 3:11-cv-30
  v.                                                    Criminal Action No. 3:08-cr-56-2
                                                        (JUDGE BAILEY)

  UNITED STATES OF AMERICA,

         Respondent-Plaintiff.


                 ORDER GRANTING IN PART AND DENYING IN PART
                PETITIONER’S MOTION TO PURSUE HIS FIFTH CLAIM
             PRO SE [154]AND DIRECTING THE GOVERNMENT TO ANSWER

         Currently pending before the Court is Petitioner Michael Jay Brackett’s (“Petitioner”)

  Motion to Pursue His Fifth Claim Pro Se (“Motion”). (Criminal Action No. 3:08-cr-56-2, ECF No.

  154 (“Mot.”).) In the Report and Recommendation (“R&R”) filed on November 15, 2011, the

  undersigned noted that Petitioner’s fifth pro se claim, alleging ineffective assistance of counsel at

  sentencing, presented an apparent conflict of interest because Petitioner’s counsel at sentencing is

  currently representing him for his § 2255 Motion. (Civil Action No. 3:11-cv-30, ECF No. 10 at 29-

  30; Criminal Action No. 3:08-cr-56-2, ECF No. 152 at 29-30 (“R&R”).) Therefore, the undersigned

  recommended that this claim be severed from the rest of Petitioner’s § 2255 Motion. (R&R at 30.)

  The undersigned also directed Petitioner to notify the Court in writing within fourteen days from

  being served a copy of the Report and Recommendation as to whether he wished to pursue this claim

  pro se or through other retained counsel. (Id.) Petitioner did so in a timely manner by filing this

  instant Motion with the Court on November 30, 2011. On January 26, 2012, the Honorable John

  Preston Bailey, Chief United States District Judge, entered an Order adopting the undersigned’s
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  R&R in its entirety and severing Petitioner’s fifth pro se claim from his other dismissed claims.

  (Civil Action No. 3:11-cv-30, ECF No. 12; Criminal Action No. 3:08-cr-56-2, ECF No. 158.)

         In his instant Motion, Petitioner alleges that he told counsel, B. Craig Manford, Esquire, to

  return his money before attorney Manford “filed a § 2255 motion without his permission.” (Mot.

  at 4.) Furthermore, he states that he told attorney Manford to withdraw as his counsel “due to the

  impact of the alleged conflict of interest prior to the imposition of sentence.” (Id.) Petitioner asks

  the Court to appoint him counsel or he will be forced to pursue this claim pro se. (Id.) However,

  prisoners do not enjoy “a constitutional right to counsel when mounting collateral attacks upon their

  convictions.” Pennsylvania v. Finley, 481 U.S. 551, 554 (1987). Therefore, while the Court will

  DENY Petitioner’s request for appointed counsel, it will GRANT his request to pursue this last

  claim pro se.

         Therefore, IT IS ORDERED THAT:

         1.       Petitioner’s Motion to Pursue His Fifth Claim Pro Se (Criminal Action No. 3:08-cr-

                  56-2, ECF No. 154) be GRANTED IN PART and DENIED IN PART; and

         2.       Pursuant to Rule 4 of the Rules Governing § 2255 Proceedings in the United States

                  District Courts, the Government is directed to file an answer to Petitioner’s fifth pro

                  se claim alleging ineffective assistance of counsel at sentencing within twenty-eight

                  (28) days of entry of this Order. The Government’s answer shall contain those

                  matters specified in Rule 5 of the Rules Governing § 2255 Proceedings. Petitioner

                  shall have twenty-eight (28) days after the date a response is filed to file any reply

                  that he might have. Pursuant to Rule 7 of the Federal Rules of Civil Procedure, no

                  other pleading will be accepted without express order of the Court upon a motion


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                 duly made.

         IT IS SO ORDERED.

         The Clerk is directed to transmit copies of this Order to the pro se Petitioner, by certified

  mail, return receipt requested, to his last known address as reflected on the docket sheet, the United

  States Attorney for the Northern District of West Virginia both by email and hard copy addressed

  to Assistant United States Attorney Erin K. Reisenweber, the United States Probation Office for the

  Northern District of West Virginia, and B. Craig Manford, Esquire.

         DATED: January 26, 2012




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